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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS

 IN RE BROILER CHICKEN                              Case No. 1:16-cv-08637
 ANTITRUST LITIGATION
                                                    DECLARATION OF ERIC
                                                    SCHACHTER IN SUPPORT OF
                                                    PLAINTIFFS’ MOTION FOR
                                                    APPROVAL OF PAYMENT OF
                                                    ADMINISTRATIVE COSTS
                                                    AND EXTENSION OF CLAIMS
                                                    FILING DEADLINE

 This Document Relates to:


 All End-User Consumer Plaintiff Actions




       I, Eric Schachter, declare as follows:

       1.      I am a Senior Vice President of A.B. Data, Ltd.’s Class Action Administration

Division (“A.B. Data”), whose Corporate Office is located in Milwaukee, Wisconsin. I am over

21 years of age and am not a party to this action. I have personal knowledge of the facts set forth

herein and, if called as a witness, could and would testify competently thereto. I submit this

declaration at the request of Co-Lead Counsel in connection with the above-captioned action (the

“Action”).

       2.      As detailed in my previous Declaration of Eric Schachter in Support of Plaintiffs’

Motion to Approve the Manner and Form of Class Notice dated June 22, 2021 (ECF No. 4921-2)

and my previous Declaration of Eric Schachter in Support of Plaintiffs’ Motion for Final Approval

of Settlement dated December 6, 2021 (ECF No. 5248-1) (the “Schachter December Declaration”),

and pursuant to the Court’s Order Regarding December 20, 2021, Hearing on Final Approval of


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Tyson, Fieldale, Peco, George’s, Mar-Jac, and Pilgrim’s Settlement dated October 29, 2021 (ECF

No. 5165), A.B. Data has been acting as Settlement Administrator for this Action. As Settlement

Administrator, A.B. Data previously provided notice to the Class and has been receiving and

processing claims from Class Members. Pursuant to the Court’s January 4, 2023, Order Granting

End-User Consumer Plaintiffs’ Uncontested Motion to Approve the Manner and Form of Class

Notice (ECF No. 6196), A.B. Data has recently sent another round of notice to the Class (the

“Class Cert Notice”).

        3.    Both the Class Cert Notice and the initial notice of the Settlements featured a

combination of: i) direct Email Notice to approximately 30 million potential Class Members; ii) a

digital advertising campaign on numerous digital and social media platforms; iii) a news release

disseminated via PR Newswire; and iv) a toll-free number and case specific website to address

potential Class Member inquiries.

        4.    Over 2.2 million claims from potential Class Members have been submitted to date.

The claim period was due to close on December 31, 2022. A.B. Data continues to receive claims

from Class Members in response to the ongoing Class Cert Notice.

                                 Claims Processing Activities

        5.    Class Members who wish to be eligible to receive a distribution from the previously

reached Settlements are required to complete and submit to A.B. Data a properly executed Claim

Form.

        6.    In preparation for receiving and processing the submitted Claim Forms, A.B. Data

(i) conferred with Co-Lead Counsel to define the project guidelines for processing claims; (ii)

created a unique database to store Claim Form details, images of Claims Forms, and supporting




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documentation; and (iii) trained staff in the specifics of the project so that Claim Forms would be

properly processed.

       7.      As of the date of this Declaration, over 2.2 million Claim Forms were received by

A.B. Data either through “paper” Claim Forms submitted by mail or “online” Claim Forms

submitted through the case website, www.overchargedforchicken.com. Once received, paper

Claim Forms were opened and prepared for scanning. Once prepared, the paper Claim Forms were

scanned into a database together with any submitted documentation. Each Claim Form was

assigned a unique Claim Form number. The information from each Claim Form, including the

claimant’s name, address, and estimate of the quantity and costs of chicken products that were

purchased during the Class Period listed on the Claim Form, was entered into a database developed

by A.B. Data to process Claim Forms.

       8.      All claims are subject to review and/or audit by the Settlement Administrator. A.B.

Data will undertake certain audits and secondary reviews of the submitted claims, in consultation

with Co-Lead Counsel, to determine which claims are valid, and for purposes of culling out any

duplicate or fraudulent claims. For example, where a) the claimed amount appears high in

comparison to other claimants; b) information on the Claim Form suggests the claimant is not a

Class Member; and/or c) members of A.B. Data’s staff identified a claim that was potentially

suspicious or not genuine.

       9.      Claimants will be sent notifications via email and/or mail to provide an opportunity

to resolve any issues identified in their claim. If the claimant fails to correct the deficiency within

the time specified, the claim may be rejected in whole or in part.

       10.     Once all claims processing and auditing has been completed, the Net Settlement

Fund will be distributed to eligible Class Members based on the claimed purchase amounts during




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the Class Period. More specifically, eligible claimants will receive a flat payment amount with the

option to receive an additional amount if their purchases exceed a certain threshold and actual

supporting documentation evidencing those purchases is provided. The specific amount of the flat

payment will be determined based on the total number of claimed purchases and eligible claimants.

       11.     A.B. Data will send Settlement payments digitally to each eligible Class Member

using the email address provided on the Claim Form. At the time of distribution, claimants will

also have the opportunity to request a traditional paper check payment by mail.

                                      Administrative Costs

       12.     A.B. Data agreed to be the Settlement Administrator in exchange for payment of

its fees and expenses. Co-Lead Counsel received reports on and invoices for all of the work

A.B. Data performed with respect to the administration of the Settlement to date. Through

January 31, 2022, A.B. Data has incurred Settlement administration costs of $888,657.60. These

costs include fees and out-of-pocket expenses related effectuating the initial round of Settlement

notice, maintaining the case website and toll-free phone number; intaking and processing over 2.2

million claims; and responding to Class Member inquiries. A.B. Data estimates additional

Settlement administration costs of approximately $550,000 to $750,000 to complete the intake of

additional claims that are submitted, review and auditing of all of the submitted claims, prepare

claim calculations, and distribute the Net Settlement Fund to eligible Class Members. To date,

A.B. Data has been paid a total of $23,074.82 from the Settlement Fund, in accordance with the

Settlement Agreements.

       13.     A.B. Data has also incurred $370,099.57 in out-of-pocket expenses related to

executing the Court-approved Class Cert Notice, such as placing digital banner ads and sending

approximately 30 million emails to Class Members.




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      I declare under penalty of perjury that the foregoing statements are true and correct to the

best of my knowledge.

      Executed this 9th day of February 2023 in Milwaukee, Wisconsin.



                                            ____________________________________
                                            Eric Schachter




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